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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


SHERMAN ANTWAN BROADHEAD,                    )
AIS # 246842,                                )
                                             )
      Plaintiff,                             )
v.                                           )      Case No.:
                                             )      2:16-CV-00064-WHA-SRW
SGT. KENDRICK BOYD, et al.,                  )
                                             )
      Defendants.                            )

                            NOTICE TO THE COURT

      COME NOW the defendants in the above-styled case and hereby give notice

to this Court as follows:

      1.     The parties to this case agreed to seek court-annexed mediation. The

scheduled mediation on Monday, August 26, 2019, before Magistrate Judge

Wallace Capel did not take place. The parties, however, continued to work

together to arrange for another mediator and retired Circuit Judge William Shash y

was available.

      2.     For the entire afternoon, before retired Circuit Judge William Shash y,

both parties engaged in good-faith attempts to mediate. This mediation took place

at the Kilby Correctional Facilit y where all parties participated, and the Plaintiff

was present in-person for the duration.

      3.     As of this writing, negotiations are continuing with Judge Shash y,

the counsel for Plaintiff and counsel for the Defendants.
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      Respectfull y submitted this the 27th day of August 2019.



                                           /s/ MADELINE H. LEWIS
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                                           /s/ J. MATT BLEDSOE
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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 27, 2019, I electronicall y filed the foregoing

with the Clerk of the Court, using the CM/ECF s ystem, which will notify all

counsel of record.


                                      /s/ MADELINE H. LEWIS
                                      OF COUNSEL
